        Case 1:25-cv-00418-CJN          Document 2        Filed 02/12/25      Page 1 of 1




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



LAS AMERICAS IMMIGRANT ADVOCACY
CENTER, et al.,

Plaintiffs–Petitioners,                                      Case No: 25-cv-00418

                             v.

KRISTI NOEM, Secretary of the U.S. Department of
Homeland Security, in her official capacity, et al.,

Defendants–Respondents.



   DISCLOSURE OF CORPORATE AFFILIATIONS AND FINANCIAL INTERESTS

       I, undersigned counsel of record, hereby certify that to the best of my knowledge and belief,

that the Plaintiffs Americans for Immigrant Justice, American Gateways, Las Americas Immigrant

Advocacy Center, and Refugee and Immigrant Center for Education and Legal Services are

nonprofit, non-stock corporations. There are no parent corporations and no publicly-held

corporations which own any stock in the organizations. These representations are made in order

that the judges of this Court may determine the need for recusal.


Dated: February 12, 2025                          Respectfully submitted,

                                                  /s/ Lee Gelernt
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